        Case 1:01-cr-00089-JMS-TAB                         Document 41              Filed 03/18/16        Page 1 of 1 PageID #:
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AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)     Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                       Fidelmar Soto-Nava                                  )
                                                                           )    Case No: 1:01CR00089-001
                                                                           )    USM No: 06597-028
Date of Original Judgment:                            07/18/2002           )
Date of Previous Amended Judgment:                                         )    Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING
                              IN THEMOTION   FOR SENTENCE
                                     UNITED STATES DISTRICT COURTREDUCTION
                           PURSUANT    TO 18DISTRICT
                                  SOUTHERN   U.S.C. §OF
                                                      3582(c)(2)
                                                        INDIANA
                                                               INDIANAPOLIS DIVISION
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) ERIC
             for a reduction in the term of imprisonment
                     COVINGTON,                        ) imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
                                                       )
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
                                       Plaintiff       )
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
                                                                    )
IT IS ORDERED that        v. the motion is:          )        Case No. 1:15-cv-00899-JMS-DKL
           u DENIED. u        ✔ GRANTED and the defendant’s
                                                     )      previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of     322
                MEIJER, INC.; PACIFIC CYCLE )           months  is reduced to 270 months                          .
                INC.; and APOLLO RETAIL
                                 (Complete Parts I and) II of Page 2 when motion is granted)
                SPECIALISTS, LLC,                     )
                                                      )
                                  Defendants )

                 ORDER GRANTING EXTENSION OF TIME IN WHICH TO FILE JURISDICTIONAL
                                          STATEMENT

                                                                                      A CERTIFIED TRUE
                          This matter is before the Court on the unopposed motion of Defendant         COPY Retail
                                                                                                   Apollo
                                                                                                                 Laura A. Briggs, Clerk
                                                                                                                 U.S. District Court
                                                                                       Southern District of Indiana
                Specialists, LLC, seeking an extension of the deadline by which the parties    must file their joint
                                                                                                                 By
                                                                                                                                       Deputy Clerk
                jurisdictional statement per prior order of the Court. The Court hereby grants the motion, and allows

                the parties to and including October 30, 2015 in which to file their joint jurisdictional statement.
Except as otherwise provided, all provisions of the judgment dated                          07/18/2002       shall remain in effect.
IT IS SO ORDERED.

Order Date:            March 18, 2016
                       Date: October 19, 2015                                   _______________________________

Effective Date:                                                                      Hon. Jane Magnus-Stinson, Judge
                     (if different from order date)
                                                                                     United States District Court
                                                                                     Southern District of Indiana
